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 3
                                UNITED STATES DISTRICT COURT
 4
                                      DISTRICT OF NEVADA
 5

 6   UNITED STATES OF AMERICA,                        Case No. 2:16-cr-00260-HDM-PAL
 7                                 Plaintiff,
           v.                                                            ORDER
 8
     CHARLES COOPER, JR.,
 9
                                   Defendant.
10

11         The defendant has filed an “Emergency Motion to Consider

12   Release in Order to Attend Funeral Services.” (ECF No. 75). Both

13   the government and probation oppose. (See ECF No. 77). The court

14   is compelled to enter this order without the benefit of a reply

15   due to the timing of the motion and the relief sought.

16         Pursuant to 18 U.S.C. § 3142(i), the court may “permit the

17   temporary        release   of”   the    defendant        to   the    extent   the   court

18   “determines such release to be necessary for preparation of the

19   person’s defense or for another compelling reason.” In considering

20   a motion for temporary release, the court should examine “the

21   defendant’s dangerousness and risk of flight.”                        United States v.

22   Williams, 2020 WL 4431565, at *2 (W.D. Pa. July 31, 2020); see

23   also United States v. Navarro, 2020 WL 5877816, at *2 (D. Nev.

24   Oct. 2, 2020). In seeking temporary release from custody, the

25   defendant bears the burden of showing by clear and convincing

26   evidence that he will not flee or pose a danger to any other person

27   or   to    the    community.     Fed.   R.       Crim.   P.   32.1(a)(6);     see    also

28   Williams, 2020 WL 4431565, at *2 (W.D. Pa. July 31, 2020).


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 1         In ordering that the defendant be detained pending his final

 2   revocation hearing, the magistrate judge found that the defendant

 3   posed both a flight risk and a danger to the community. The court

 4   agrees, and nothing in the instant motion persuades the court to

 5   conclude otherwise.

 6         The defendant’s criminal history includes felony convictions

 7   for conspiracy to commit robbery and assault with a deadly weapon,

 8   multiple arrests, charges and juvenile adjudications, and numerous

 9   instances of violence. The latter include a domestic battery the

10   defendant committed on the mother of his child just days after

11   being released from custody in this case – conduct that included

12   grabbing her by the neck, pushing her into a closet and slamming

13   her onto a bed, as well as a threat to kill her and everyone in

14   the house at the time. A warrant remains outstanding in connection

15   with this assault. The defendant has also repeatedly demonstrated

16   his   unwillingness    to    comply     with   supervision      or   report   when

17   directed,   as   demonstrated      by   both    his    first   and   the   pending

18   revocation proceedings. And the defendant has actively avoided

19   facing the consequences for his failure to comply. Before the

20   warrant in the pending revocation proceedings was issued, the

21   probation officer twice directed the defendant to report to the

22   Probation    Office     in   connection        with    the     domestic    battery

23   allegations.     The   defendant    failed     to     appear   either     time.   He

24   effectively absconded and then remained a fugitive from this

25   court’s warrant for six months before he was apprehended during a

26   traffic stop. Even then, during the stop, the defendant continued

27   his attempts to evade justice by lying about his identity.

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 1         These factors all suggest that the defendant is a danger to

 2   the community and a significant flight risk. The defendant has

 3   otherwise failed to give adequate assurances that he is not a

 4   flight   risk    or   danger   to   the       community.   Further,   the   safety

 5   protocols and logistics of his release plan have not been approved

 6   by probation and are complicated by the ongoing COVID-19 epidemic.

 7         The defendant’s conduct compels the conclusion that he has

 8   failed to meet his burden of establishing by clear and convincing

 9   evidence that he does not pose a risk of flight or danger to the

10   community.      As such, the motion for temporary release (ECF No. 75)

11   must be, and hereby is, DENIED.

12         IT IS SO ORDERED.

13         DATED: This 5th day of November, 2020.
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                                          UNITED STATES DISTRICT JUDGE
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